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 Case2:12-cr-00004-APG-EJY
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                             Document914  Filed 02/11/15
                                      912 Filed 02/12/15 Page
                                                          Page11ofof88
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 Case2:12-cr-00004-APG-EJY
      2:12-cr-00004-APG-GWF Document
                             Document914  Filed 02/11/15
                                      912 Filed 02/12/15 Page
                                                          Page22ofof88
Case
 Case2:12-cr-00004-APG-EJY
      2:12-cr-00004-APG-GWF Document
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                                      912 Filed 02/12/15 Page
                                                          Page33ofof88
Case
 Case2:12-cr-00004-APG-EJY
      2:12-cr-00004-APG-GWF Document
                             Document914  Filed 02/11/15
                                      912 Filed 02/12/15 Page
                                                          Page44ofof88
Case
 Case2:12-cr-00004-APG-EJY
      2:12-cr-00004-APG-GWF Document
                             Document914  Filed 02/11/15
                                      912 Filed 02/12/15 Page
                                                          Page55ofof88
Case
 Case2:12-cr-00004-APG-EJY
      2:12-cr-00004-APG-GWF Document
                             Document914  Filed 02/11/15
                                      912 Filed 02/12/15 Page
                                                          Page66ofof88
Case
 Case2:12-cr-00004-APG-EJY
      2:12-cr-00004-APG-GWF Document
                             Document914  Filed 02/11/15
                                      912 Filed 02/12/15 Page
                                                          Page77ofof88
Case
 Case2:12-cr-00004-APG-EJY
      2:12-cr-00004-APG-GWF Document
                             Document914  Filed 02/11/15
                                      912 Filed 02/12/15 Page
                                                          Page88ofof88




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